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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 IN RE PETITION FOR ORDER                           Misc. Action No. 18-125 (BAH)
 DIRECTING RELEASE OF THE “ROAD
 MAP” TRANSMITTED BY THE                            Chief Judge Beryl A. Howell
 WATERGATE GRAND JURY TO THE
 HOUSE JUDICIARY COMMITTEE IN
 1974



                                             ORDER

        Pending before the Court is a petition to unseal the Watergate grand jury’s report and

recommendation transmitted to the United States House of Representatives in 1974 (the “Road

Map”). Upon consideration of the petitioners’ Unopposed Motion for Scheduling Order, ECF

No. 10, it is hereby

        ORDERED that the National Archives and Records Administration (“NARA”) shall, by

November 2, 2018, employ its best efforts to make public a redacted copy of the Road Map; and

it is further

        ORDERED that if NARA determines that, despite its best efforts, it is unable to release

the redacted Road Map by November 2, 2018, the Department of Justice shall file a report with

the Court no later than October 31, 2018, seeking to modify the date and explaining its basis for

doing so.

        SO ORDERED.

        Date: October 18, 2018

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                                                      BERYL A. HOWELL
                                                      Chief Judge




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